           Case 1:19-cr-00193-TNM Document 1 Filed 06/05/19 Page 1 of 5




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                               CRIMINAL NO. 19.CR-

               v                                       VIOLATIONS:
                                                       18 U.S.C. $ 371 (Conspiracy to      Commit
EUGENIA RAPP,                                          Mail Fraud)

               Defendant.                              FORFEITURE: l8 U.S.C.         g   981(a)(l)(C),
                                                       28 U.S.C. $ 2461(c)

                                          INFORMATION

        The United States charges that:

       At all times material to this Information:

                                            Introduction

        l.     EUGENIA RAPP ('the DEFENDANT') resided in Virginia and used three email

addresses: a D.C. govemment work account, a personal Gmail account, and a personal Hotmail

account.

       2.      Individual A operated a nursing school in Florida ("the Florida Nursing School").

       3.      Person B worked at the Florida Nursing School.

       4.      Persons G, H, and    K lived in Florida and were enrolled      at the Florida Nursing

School. They had no personal or familial relationship with the DEFENDANT.

       5.      From in or about 2008 through in or about December 2016, the DEFENDANT was

employed as a Vocational Rehabilitation Counselor with the District of Columbia's Department

of Disability Services, Rehabilitation Services Administration ("DCRSA").

       6.      The DCRSA Vocational Rehabilitation program provides vocational rehabilitation

benefits ("VR benefits" or "benefits") to qualified individuals with disabilities to help them prepare

for and engage in gainful employment. Such benefits can include funding an individual's post-

secondary educational expenses, including tuition and books.
         Case 1:19-cr-00193-TNM Document 1 Filed 06/05/19 Page 2 of 5




       7.        Generally, VR benefits are administered as follows. First, an individual applies for

benefits with the DCRSA. Second,           a Vocational   Rehabilitation Counselor processes the

application and renders a determination regarding whether the person is eligible for VR benefits.

Third, a purchase authorization is transmitted to the post-secondary educational institution

detailing what benefits the beneficiary is authorized to receive. Fourth, the post-secondary

educational institution sends an invoice to the DCRSA requesting payment for any authorized

benefits, such as tuition. Fifth, the Vocational Rehabilitation Counselor assigned to the individual

receiving VR benefits communicates with the DCRSA's Office of Financial Management Support

informing the office whether it has permission to pay the invoice. Sixth, payments are sent to the

post-secondary educational institution.

       8.        For an individual to be eligible to receive VR benefits from the DCRSA:

            a.   a qualified medical professional must determine that the   individual has a physical

                 or mental impairment that constitutes or results in a substantial impediment to

                 employment;

            b.   a DCRSA Vocational Rehabilitation Counselor must determine that the individual

                 requires VR benefits to prepare for, secure, retain, or regain employment; and

            c.   the individual must live in the District of Columbia.

       9.        DCRSA policy required Vocational Rehabilitation Counselors to disclose any

actual or apparent conflict of interest that could impair their professional judgment or appear as a

conflict of interest, such as relationships with relatives and close friends who were consumers of

benefits or prospective vendors.




                                                   2
            Case 1:19-cr-00193-TNM Document 1 Filed 06/05/19 Page 3 of 5




                                                 COUNT ONE
                                       (Conspiracy to Commit Mail Fraud)

        10.         From in or about November 2012 to in or about November 2016, in the District      of

Columbia and elsewhere, THE DEFENDANT, together with other conspirators known and

unknown to the United States, did knowingly and willfully conspire, combine, confederate, and

agree to commit offenses against the United States, that is, violations        of Title 18, United States

Code, Section        l34l    (mail fraud), in violation of Title 18, United States Code, Section     371

(conspiracy).

                                            Pumose of the Conspiracy

        I   I   .   lt   was a purpose of the conspiracy for THE DEFENDANT and others to defraud

the D.C. govemment by having vocational rehabilitation benefits awarded to individuals who were

not eligible for benefits.

                                       Manner and Means of the Conspiracy

        12.         The manner and means by which this purpose was carried out included the

DEFENDANT serving             as the   Vocational Rehabilitation Counselor for individuals whom she knew

were not eligible for D.C. govemment vocational rehabilitation benefits, including family

members, and facilitating the awarding             of benefits to individuals who were not eligible for

benefits.

                                                    Overt Acts

        13.         In furtherance of the conspiracy, and in order to effect the objects thereof, the

DEFENDANT and other co-conspirators who are both known and unknown to the United States,

in various combinations, directly and indirectly, within the District of Columbia and elsewhere,

committed overt acts, including, but not limited to the following:




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         Case 1:19-cr-00193-TNM Document 1 Filed 06/05/19 Page 4 of 5




            a.   On or about January 17, 2013, the DEFENDANT sent an email from her D.C.

government emaiI account to a family member providing instructions regarding obtaining benefits,

including information about how the family member could obtain a D.C. identification card.

            b. On or    about November 13, 2014, the DEFENDANT completed vocational

rehabilitation benefits application packages for Person G and Person H, falsely listing D.C.

addresses as the current addresses for both.

            c.   On or about November 14, 2014, the DEFENDANT sent an email from her D.C.

government account to Person B asking that Person B invoice the D.C. govemment regarding

benefits associated with Person G and Person H.

            d. On or     about November 14, 2014,           in      response   to   Person   B   emailing the

DEFENDANT invoices for Person G and Person H, the DEFENDANT instructed Person B to use

D.C. addresses. not Florida addresses. on both invoices.

            e.   On or about   J   anuary 29,2016, Person B sent an email to the Defendant at her D.C.

govemment account attaching an invoice in the amount of $9,500 for tuition related to Person K.

            f.   On or about January 29, 2016, the DEFENDANT sent DCRSA's Office of

Financial Management Support an email granting permission to pay the $9,500 invoice, which

resulted in the D.C. government mailing a check from the District of Columbia to the Florida

Nursing School.

                               (Conspiracy to Commit Mail Fraud,
                    in violation of Title 18, United States Code, Section 371)

                                     FORFEITURE ALLEGATION

       l.        Upon conviction of the offense alleged in Count One, the DEFENDANT shall

forfeit to the United States any property, real or personal, which constitutes or is derived from

proceeds traceable to the offense, pursuant      to l8 U.S.C.   g   981(a)(l)(C) and 28 U.S.C. g 2a6l(c).


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         Case 1:19-cr-00193-TNM Document 1 Filed 06/05/19 Page 5 of 5




       2.        If   any ofthe property described above as being subject to forfeiture, as a result   of

any act or omission of the DEFENDANT:

            a.   cannot be located upon the exercise ofdue diligence;

            b.   has been transferred or sold to, or deposited     with, a third party;

            c.   has been placed beyond     thejurisdiction ofthe Court;

            d.   has been substantially diminished in value; or

            e.   has been commingled with other property that cannot be divided without

                 difficulty;

the DEFENDANT shall forfeit to the United States any other property of the DEFENDANT, up

to the value ofthe property described above, pursuant to      2l   U.S.C. $ 853(p).

 (Criminal Forfeiture, pursuant to Title  18, United States Code, Section 981(aXlXC), Title 28,
     United States Code, Section 2461(c),  and Title 18, United States Code, Section 853(p))

                                                 Respectfully submitted,

                                                 JESSIE K. LIU
                                                 UNITED STATES ATTORNEY
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DATED:    lrr" 4,ZOtg




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